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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Houston District Office
1919 Smith Street, 6th Floor
Houston, TX 77002

(346) 327-7700

Website: www.ccoc. gov

DISMISSAL AND NOTICE OF RIGHTS
(This Notice replaces EEOC FORMS 161 & 161-A)

Issued On: 04/21/2023
To: Monica Peters-Clark
301 Saddle Ridge Dr.
Lufkin, TX 75904
Charge No: 460-2023-00404

EEOC Representative and email: JESUS SANTIAGO
Investigator
jesus.santiago@eeoc.gov

DISMISSAL OF CHARGE

The EEOC has granted your request for a Notice of Right to Sue, and more than 180 days have
passed since the filing of this charge.

The EEOC is terminating its processing of this charge.
NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 460-2023-00404.

On behalf of the Commission,

Digitally Signed By:Rayford ©, Irvin
04/21/2023

Rayford O. Irvin
District Director

